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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                                     Case No.9:20-cv-80027-RKA


 THE LOMNITZER LAW FIRM, P.A.                 )
      Plaintiff                               )
                                              )
                                              )
        v.                                    )
                                              )
 MALIBU MEDIA, LLC                            )
      Defendant                               )
                                              )

                 APPLICATION FOR DEFAULT ENTRY BY THE CLERK

        NOW COMES THE PLAINTIFF, by and through undersigned counsel, and requests that

 the Clerk enter Default against the Defendant.

        Defendant was served on January 12, 2020 (See, D.E. 7). Defendant’s response to the

 complaint was due on February 7, 2020. No response has been filed and no application for an

 extension of time has been filed.

        Pursuant to Local Rule 7.1(a)(1)(D) no memorandum of law is required.

        Accordingly, default should be entered by the Clerk.

        Dated: February 10, 2020                    Respectfully submitted,

                                              By:/s/ Jerold I. Schneider
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